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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    THOMAS MAULSON, et al.,                            )
                                                       )
           Plaintiffs,                                 )
                                                       )
           v.                                          )      Case No. 1:96cv01285 (TFH)
                                                       )
    RYAN ZINKE, Secretary of the Interior, et al.,     )
                                                       )
           Defendants.                                 )
                                                       )

       DEFENDANTS’ SECOND UNOPPOSED MOTION FOR AN ENLARGEMENT
                      OF TIME IN WHICH TO RESPOND TO
       PLAINTIFFS’ MEMORANDUM ON REQUESTED THIRD PARTY EXPENSES

          On June 29, 2018, plaintiffs submitted Plaintiffs’ Memorandum Response to Court’s

Order on Third Party Expenses [ECF No. 4342]. Defendants are presently ordered to file a

response by September 14, 2018, addressing the reasonableness and/or permissibility of

plaintiffs’ requests for reimbursement of third-party expenses, with any reply from plaintiffs due

by October 15, 2018. Minute Order of July 27, 2018. 1 Defendants have completed their review

of plaintiffs’ documentation of the identified expenses and the parties are conferring about

possibly resolving any objections by agreement, thereby narrowing, or possibly eliminating, the

issues the Court would need to address when considering plaintiffs’ reimbursement request. But

such consultation will require more time than the current briefing schedule allows.

          Defendants, therefore, make this second unopposed motion for an enlargement of time of

fourteen days, until September 28, 2018, for defendants to file their response, and a

corresponding extension of the due date for a reply by plaintiffs to October 29, 2018. As



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  The Court granted Defendants’ unopposed motion for an enlargement of time, filed on July
25, 2018 [ECF No. 4348].
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required by L.Civ.R. 7(m), defendants’ counsel discussed this motion with plaintiffs’ counsel,

and plaintiffs do not oppose this request for an enlargement of time. Accordingly, defendants

respectfully request that the Court grant this motion.

Dated: September 13, 2018                                Respectfully submitted,

                                                         JOSEPH H. HUNT
                                                         Assistant Attorney General

                                                         RUTH A. HARVEY
                                                         Director

                                                         /s/ Phillip M. Seligman
                                                         MICHAEL J. QUINN
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                                                         Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing, Defendants’ Second Unopposed Motion for

an Enlargement of Time in Which to Respond to Plaintiffs’ Memorandum on Requested Third

Party Expenses, was served by ECF on counsel of record and on the following via facsimile,

pursuant to agreement, on this 13th day of September, 2018.



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                                                   /s/ Phillip M. Seligman




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